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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA


FÖRSTA AP-FONDEN AND DANSKE
INVEST MANAGEMENT A/S,
INDIVIDUALLY AND ON BEHALF OF ALL
OTHERS SIMILARLY SITUATED,

                 PLAINTIFFS,
                                                     Civil No. 12-3070 (JNE/HB)
V.

ST. JUDE MEDICAL, INC., DANIEL J.
STARKS, JOHN C. HEINMILLER, ERIC S.
FAIN, MICHAEL T. ROUSSEAU, AND
DONALD J. ZURBAY,

                 DEFENDANTS.


    DECLARATION OF ERIC SCHACHTER REGARDING (A) MAILING OF NOTICE
    OF PENDENCY OF CLASS ACTION; (B) PUBLICATION OF SUMMARY NOTICE;
          AND (C) REPORT ON REQUESTS FOR EXCLUSION RECEIVED

       I, Eric Schachter, declare as follows:

       1.      I am a Vice President of A.B. Data, Ltd.’s Class Action Administration Company

(“A.B. Data”), whose Corporate Office is located in Milwaukee, Wisconsin. Pursuant to the

Court’s March 11, 2016 Order Granting Lead Plaintiffs’ Unopposed Motion to Approve the

Form and Manner of Class Notice (the “Class Notice Order”), A.B. Data was retained as the

Notice Administrator1 to supervise and administer the notice procedure in connection with the

above-captioned action (the “Action”). I am over 21 years of age and am not a party to the

Action. I have personal knowledge of the facts set forth herein and, if called as a witness, could

and would testify competently thereto.

1
  Unless otherwise defined herein, all capitalized terms used herein shall have the meanings set
forth in the Notice Plan attached as Exhibit C to Lead Plaintiffs’ Unopposed Motion to Approve
the Form and Manner of Class Notice (Dkt. No. 278) (the “Notice Plan”).
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                                 MAILING OF THE NOTICE

       2.      Pursuant to the Class Notice Order and Court-approved Notice Plan, A.B. Data

mailed the Notice of Pendency of Class Action (the “Notice”) to potential Class Members and

nominees. A copy of the Notice is attached hereto as Exhibit A.

       3.      On March 15, 2016, A.B. Data received from Class Counsel a data file that was

provided by counsel for the Defendants containing 592 unique names and addresses of potential

Class Members. On March 29, 2016, A.B. Data caused Notices to be sent by First-Class Mail to

those 592 potential Class Members.

       4.      As in most class actions of this nature, the large majority of potential class

members are beneficial purchasers whose securities are held in “street name” – i.e., the securities

are purchased by brokerage firms, banks, institutions, and other third-party nominees in the name

of the respective nominee, on behalf of the beneficial purchasers. A.B. Data maintains a

proprietary database with names and addresses of the largest and most common banks, brokers,

and other nominees (the “Record Holder Mailing Database”). A.B. Data’s Record Holder

Mailing Database is updated from time to time as new nominees are identified, and others go out

of business. At the time of the initial mailing, the Record Holder Mailing Database contained

5,299 mailing records. On March 29, 2016, A.B. Data caused Notices to be sent by First-Class

Mail to the 5,299 mailing records contained in the Record Holder Mailing Database.

       5.      In total, 5,891 Notices were mailed to potential Class Members and their

nominees by First-Class Mail on March 29, 2016.

       6.      The Notice directed those who purchased or otherwise acquired St. Jude common

stock during the Class Period (i.e., February 5, 2010 through November 20, 2012) for the

beneficial interest of a person or entity other than themselves to either (a) within seven calendar




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days of receipt of the Notice, request from A.B. Data sufficient copies of the Notice to forward to

all such beneficial owners (and then forward the Notices to the beneficial owners within seven

calendar days of receipt), or (b) within seven calendar days of receipt of the Notice, provide to

A.B. Data a list of the names and addresses of all such beneficial owners. See Notice ¶ 22.

       7.      As of May 24, 2016, A.B. Data has received an additional 281,595 names and

addresses of potential Class Members from individuals or brokerage firms, banks, institutions,

and other nominees. A.B. Data has also received requests from brokers and other nominee

holders for 36,681 Notices to be forwarded by the nominees to their customers. All such requests

have been, and will continue to be, complied with and addressed in a timely manner.2

       8.      As of May 24, 2016, a total of 324,167 Notices have been mailed to potential

Class Members and their nominees. In addition, A.B. Data has re-mailed 1,086 Notices to

persons and entities whose original mailings were returned by the U.S. Postal Service (“USPS”)

and for whom or which updated addresses were provided to A.B. Data by the USPS or

ascertained through a third-party information provider to which A.B. Data subscribes.

                       PUBLICATION OF THE SUMMARY NOTICE

       9.      In accordance with Paragraph 7 of the Notice Plan, A.B. Data caused the

Summary Notice of Pendency of Class Action (the “Summary Notice”) to be published in

Investor’s Business Daily and released electronically via PR Newswire on April 8, 2016. Copies




2
   For potential Class Members identified by brokerage firms, banks, institutions, and other
nominees near or after the May 13, 2016 deadline to request exclusion from the Class, A.B. Data
sent the Notice along with an insert advising the potential Class Member that their name and
address were only recently provided to A.B. Data by their broker and/or nominee, that certain
deadlines may have passed, and that the potential Class Member should contact the Notice
Administrator by telephone or email with any questions. A copy of the insert is attached hereto
as Exhibit B.


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of proof of publication of the Summary Notice in Investor’s Business Daily and via PR

Newswire are attached hereto as Exhibits C and D, respectively.

                                 TELEPHONE HELP LINE

       10.    On or about March 29, 2016, A.B. Data established and since then has continued

to maintain a case-specific, toll-free telephone help line, 1-866-905-8130, with a recorded

message and live operators, to accommodate potential Class Members with questions about the

Notice and the Action. The automated attendant answers the calls and presents callers with a

series of choices to respond to basic questions. Callers requiring further assistance have the

option to be transferred to a live operator during business hours, Monday through Friday, 9:00

a.m. to 6:00 p.m. EST.

                                          WEBSITE

       11.    In accordance with Paragraph 6 of the Notice Plan, A.B. Data established a

website designated for this Action, www.stjudesecuritieslitigation.com. The website includes

information regarding the Action and downloadable copies of the Notice; the Order Granting

Lead Plaintiffs’ Motion to Certify Class, Appoint Class Representatives, and Appoint Class

Counsel; the Class Notice Order, and the operative Complaint. The website became operational

on March 29, 2016, and is accessible 24 hours a day, 7 days a week.

                REPORT ON REQUESTS FOR EXCLUSION RECEIVED

       12.    The Notice informed potential Class Members that requests for exclusion from

the Class were to be mailed to the Notice Administrator postmarked no later than May 13, 2016.

The Notice also set forth the information that was required to be included in each request for

exclusion. As of May 24, 2016, A.B. Data has received a total of twenty-six (26) requests for

exclusion from the Class. Of the twenty-six (26) requests for exclusion received, twenty-five




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(25) requests were submitted timely with a postmark date on or before May 13, 2016 (“Timely

Exclusion Requests”), as set forth on Exhibit E hereto, and one (1) request was submitted

untimely with a postmark date after May 13, 2016, as set forth on Exhibit F hereto.



I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.

       Executed this 24th day of May 2016.




                                                                    Eric Schachter




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           EXHIBIT A
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                                              UNITED STATES DISTRICT COURT
                                                 DISTRICT OF MINNESOTA

FÖRSTA AP-FONDEN AND DANSKE INVEST                                 Civil No. 12-3070 (JNE/HB)
MANAGEMENT A/S, Individually and on Behalf of All
Others Similarly Situated,                                         CLASS ACTION
             Plaintiffs,
       v.
ST. JUDE MEDICAL, INC., DANIEL J. STARKS, JOHN
C. HEINMILLER, ERIC S. FAIN, MICHAEL T.
ROUSSEAU, and DONALD J. ZURBAY,
                   Defendants.
                               NOTICE OF PENDENCY OF CLASS ACTION
TO:       ALL PERSONS OR ENTITIES WHO PURCHASED OR OTHERWISE ACQUIRED ST. JUDE MEDICAL, INC.
          COMMON STOCK DURING THE PERIOD FROM FEBRUARY 5, 2010 THROUGH NOVEMBER 20, 2012,
          AND WHO WERE DAMAGED THEREBY (THE “CLASS”).
                        A federal court has authorized this notice. This is not a solicitation from a lawyer.
PLEASE READ THIS NOTICE CAREFULLY AND IN ITS ENTIRETY. YOU MAY BE A MEMBER OF THE CLASS
DESCRIBED HEREIN. AS SUCH, YOUR RIGHTS MAY BE AFFECTED BY A PENDING CLASS ACTION LAWSUIT.
THIS NOTICE ADVISES YOU OF YOUR OPTIONS REGARDING THE CLASS ACTION.
PLEASE DO NOT CALL OR WRITE THE COURT. IF YOU HAVE ANY QUESTIONS AFTER READING THIS
NOTICE, YOU SHOULD CONTACT CLASS COUNSEL OR THE ADMINISTRATOR, AS DISCUSSED FURTHER
BELOW.
This Notice is being sent pursuant to Rule 23 of the Federal Rules of Civil Procedure and an Order of the United States District Court
for the District of Minnesota (the “Court”) to inform you (a) of a class action lawsuit that is now pending in the Court under the above
caption (the “Action”) against St. Jude Medical, Inc. (“St. Jude”) and the individual defendants, officers of St. Jude; and (b) that the
Action has been certified by the Court to proceed as a class action on behalf of the Class, as defined in paragraph 1 below.
1.    On December 22, 2015, the Court entered an Order certifying the following Class:
                   All persons or entities who purchased or otherwise acquired St. Jude Medical, Inc. common stock during
                   the period from February 5, 2010 through November 20, 2012 (the “Class Period”), and who were
                   damaged thereby.
          Excluded from the Class are:
                   (i) Defendants; (ii) members of the immediate family of each of the Individual Defendants; (iii) any
                   person who was an executive officer and/or director of St. Jude during the Class Period; (iv) any person,
                   firm, trust, corporation, officer, director, or any other individual or entity in which any Defendant has a
                   controlling interest or which is related to or affiliated with any of the Defendants; and (v) the legal
                   representatives, agents, affiliates, heirs, successors-in-interest or assigns of any such excluded party.
2. This Notice is directed to you because you may be a member of the Class. If you are a member of the Class, your rights will be
affected by this Action. If you do not meet the Class definition, this Notice does not apply to you. If you are uncertain whether you
are a member of the Class, contact Class Counsel listed in paragraph 16 below, or your own attorney.
3. This Notice is not an admission by Defendants or an expression of any opinion by the Court as to the merits of the Action, or a
finding by the Court that the claims asserted by Class Representatives1 in this Action are valid. This Notice is intended solely to
inform you of the pendency of this Action and of your rights in connection with it, including the right to request exclusion from the
Class. There is no settlement or monetary recovery at this time. Defendants have denied Class Representatives’ claims and contend
that they are not liable for the harm alleged by Class Representatives.
4.    The Class definition may be subject to change by the Court pursuant to Rule 23 of the Federal Rules of Civil Procedure.

1
The Court-appointed Class Representatives are Första AP-fonden and Danske Invest Management A/S.


QUESTIONS? CALL 866-905-8130 OR VISIT WWW.STJUDESECURITIESLITIGATION.COM                                                 PAGE 1 OF 4
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                                         DESCRIPTION AND STATUS OF THE LAWSUIT
5. This is a securities class action against Defendants for alleged violations of the federal securities laws during the Class Period. Lead
Plaintiffs allege that Defendants issued false and misleading statements during the Class Period that understated and misrepresented the
severity of known, undisclosed problems with St. Jude’s older generation of silicone-insulated cardiac leads, including electrical
malfunctions and that the silicone-insulated leads suffered from premature wear and protruding wires, defects that would inhibit the
leads’ ability to deliver life-saving electric shocks. Lead Plaintiffs also allege that Defendants issued false and misleading statements
touting the purported improvements and successes of St. Jude’s newer generation of high-voltage cardiac leads, particularly a lead
named Durata, which was coated with a proprietary insulation called “Optim,” instead of silicone. Defendants deny all of the allegations
of wrongdoing asserted in the Action and deny any liability whatsoever to any members of the Class.
6. Defendants moved to dismiss the complaint. On March 10, 2014, the Court granted in part and denied in part Defendants’
motion to dismiss. Thereafter, on April 23, 2014, Defendants filed an Answer denying all material surviving allegations of the First
Amended Complaint and asserting certain defenses. Please note that this Notice does not describe all claims and defenses asserted by
the parties. The section entitled “Where You Can Find Additional Information” describes the process by which you can obtain
additional information about the Action and the claims and defenses asserted.
7. On September 4, 2015, Lead Plaintiffs filed their motion for class certification, which Defendants opposed on October 7, 2015.
On December 22, 2015, the Court issued an Order granting Lead Plaintiffs’ motion, certifying the Class, appointing Lead Plaintiffs
as class representatives, and appointing Lead Counsel as lead class counsel. The Court’s order certifying the Class does not guarantee
Class Members will receive money or benefits; that will be decided later in the lawsuit.
8. No court has made a ruling on the merits of Lead Plaintiffs’ allegations or on Defendants’ denials and defenses. The litigation is
ongoing.
                                              YOUR RIGHTS AS A CLASS MEMBER
9. A class action is a type of lawsuit in which one or several individuals or entities prosecute claims on behalf of all members of a
group of similarly situated persons and entities to obtain monetary or other relief for the benefit of the entire group. Class actions
avoid the necessity of each member of a class having to file his, her, or its own separate lawsuit to obtain relief. Class actions are used
to decide legal and factual issues that are common to all members of a class.
10. If you purchased or otherwise acquired St. Jude common stock during the period from February 5, 2010, through November 20,
2012, and were damaged thereby, and you are not excluded by definition from the Class, you are a member of the Class. If you are a
member of the Class, you have the right to decide whether to remain a member of the Class. If you are a member of the Class and
wish to be excluded from the Class, you must request exclusion in accordance with the procedures set forth in paragraph 12 below. If
you want to remain a member of the Class, you do not need to do anything at this time other than to retain your documentation
reflecting your transactions in St. Jude common stock during the Class Period as discussed below in paragraph 11. Your decision
is important for the following reasons:
                   a. If you choose to remain a member of the Class, you will be bound by all past, present, and future
                   orders and judgments in the Action, whether favorable or unfavorable. If any money is awarded to the
                   Class, either through a settlement with Defendants or a judgment of the Court after a trial, you may be
                   eligible to receive a share of that award. However, if you remain a member of the Class, you may not
                   pursue a lawsuit on your own behalf with regard to any of the issues in this Action. Pursuant to Rule
                   23(e)(4) of the Federal Rules of Civil Procedure, it is within the Court’s discretion whether to allow a
                   second opportunity to request exclusion from the Class if there is a settlement or judgment in the Action
                   after a trial. Please note that if you remain a member of the Class, you will not be personally responsible
                   for Class Counsel’s attorneys’ fees or costs. Class Counsel have agreed to represent the Class on a
                   contingent-fee basis, which means that they will be awarded fees and costs to be approved by the Court
                   only if they succeed in obtaining a recovery from one or more Defendants. Any attorneys’ fees for Class
                   Counsel will be awarded by the Court from the settlement or judgment, if any, obtained on behalf of the
                   Class. As a member of the Class, you will be represented by Class Counsel. Alternatively, you may
                   remain a member of the Class and elect to be represented by counsel of your own choosing. If you do
                   retain separate counsel, you will be responsible for that attorney’s fees and expenses, and that attorney
                   must enter an appearance on your behalf by filing a Notice of Appearance with the Court and mailing it
                   to Class Counsel at the addresses set forth in paragraph 16 below on or before May 13, 2016.
                   b. If you choose to be excluded from the Class, you will not be bound by any orders or judgments in
                   this Action, nor will you be eligible to share in any recovery that might be obtained in this Action. You
                   will retain any right you have to individually pursue any legal rights that you may have against any
                   Defendants with respect to the claims asserted in the Action. Please refer to paragraphs 12-15 below if
                   you would like to request exclusion from the Class.


QUESTIONS? CALL 866-905-8130 OR VISIT WWW.STJUDESECURITIESLITIGATION.COM                                                    PAGE 2 OF 4
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11. Members of the Class will be eligible to participate in any recovery that might be obtained in the Action. While this Notice is not
intended to suggest any likelihood that Class Representatives or members of the Class will obtain any recovery, should there be a
recovery, members of the Class will be required to support their requests to participate in the distribution of the recovery by
demonstrating their membership in the Class and documenting their purchases, acquisitions, and sales of St. Jude common stock. For
this reason, please be sure to keep all records of your transactions in this security.
                                         HOW TO BE EXCLUDED FROM THE CLASS
12. To exclude yourself from the Class, you must send a letter by First-Class Mail stating that you “request exclusion from the Class
in Första AP-Fonden and Danske Invest Management A/S v. St. Jude Medical, Inc., Civil No. 12-3070 (JNE/HB) (D. Minn.).” Your
request must state your full name, address, and telephone number and be signed. If you are signing on behalf of a Class member (such
as an estate, corporation, or partnership), please indicate your full name and the basis of your authority to act on behalf of the Class
member. Your request for exclusion must also state the amount of St. Jude common stock purchased, acquired, and/or sold during the
Class Period, as well as the dates and prices of each such purchase, acquisition, and/or sale. You must mail your exclusion request,
postmarked no later than May 13, 2016, to:
                         Första AP-Fonden and Danske Invest Management A/S v. St. Jude Medical, Inc.
                                                            EXCLUSIONS
                                                          c/o A.B. Data, Ltd.
                                                            P.O. Box 173010
                                                        Milwaukee, WI 53217
13. You cannot exclude yourself from the Class by telephone, facsimile, or email. Requests for exclusion that do not comply with
the above requirements will be invalid, unless otherwise accepted by the Court, subject to any objections of the parties to be resolved
by the Court.
14. Do not request exclusion if you wish to participate in this Action as a member of the Class.
15. If you properly request exclusion from the Class, you will not be bound by any orders or judgments in this Action, but you also will
not be eligible to share in any recovery that might be obtained in this Action. If you properly request exclusion, you will be entitled to
pursue an individual lawsuit, claim, or remedy, if available, which you may have, at your own expense. Please note, if you decide to
exclude yourself from the Class, you may be time-barred from asserting the claims covered by the Action by a statute of repose.
                                                        CLASS COUNSEL
16. The Court appointed the law firms of Kessler Topaz Meltzer & Check, LLP and Motley Rice LLC as Class Counsel. If you have
any questions concerning the matters raised in this Notice, you may contact Class Counsel, as follows:
         Gregory M. Castaldo, Esq.                                                 Gregg S. Levin, Esq.
         Joshua E. D’Ancona, Esq.                                                  Joshua C. Littlejohn, Esq.
         KESSLER TOPAZ MELTZER                                                     MOTLEY RICE LLC
         & CHECK, LLP                                                              28 Bridgeside Blvd.
         280 King of Prussia Road                                                  Mt. Pleasant, SC 29464
         Radnor, PA 19087                                                          Telephone: 843-216-9000
         Telephone: 610-667-7706                                                   Facsimile: 843-216-9450
         Facsimile: 610-667-7056                                                   www.motleyrice.com
         www.ktmc.com
17. As noted above, unless you elect to retain your own personal lawyer, if you remain in the Class, you will not have any direct
obligations to pay the costs of the litigation. If there is a recovery by the Class in this Action, all costs and expenses of the Action,
including Class Counsel’s attorneys’ fees, will be paid from that recovery in an amount approved by the Court.
                                        PLEASE KEEP YOUR ADDRESS CURRENT
18. To assist the Court and the parties in maintaining accurate lists of Class members, you are requested to mail notice of any
changes in your address to:
                        Första AP-Fonden and Danske Invest Management A/S v. St. Jude Medical, Inc.
                                                        c/o A.B. Data, Ltd.
                                                         P.O. Box 173010
                                                      Milwaukee, WI 53217
19. If this Notice was forwarded to you by the postal service, or if it was otherwise sent to you, at an address that is not current, you
should immediately contact the Administrator, A.B. Data, Ltd., at the address above or by calling the Administrator toll-free at
866-905-8130 and providing them with your correct address. If the Administrator does not have your correct address, you may not
receive notice of important developments in this Action.



QUESTIONS? CALL 866-905-8130 OR VISIT WWW.STJUDESECURITIESLITIGATION.COM                                                   PAGE 3 OF 4
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                                WHERE YOU CAN FIND ADDITIONAL INFORMATION
20. This Notice gives only a summary of the lawsuit and the claims asserted by Class Representatives. For more detailed
information regarding the Action, you may contact Class Counsel or visit www.stjudesecuritieslitigation.com.
21. Complete copies of the pleadings, orders, and other documents filed in this Action are available at http://www.pacer.gov or at
the office of the Clerk of the Court, United States District Court for the District of Minnesota, 300 South Fourth Street, Minneapolis,
MN 55415, under Civil Action No. 0:12-cv-03070.
PLEASE DO NOT CALL OR WRITE THE COURT OR CLERK OF THE COURT REGARDING THIS NOTICE.
                                NOTICE TO SECURITIES BROKERS AND OTHER NOMINEES
22. If, for the beneficial interest of any person or entity other than yourself, you purchased or otherwise acquired St. Jude common
stock during the period from February 5, 2010 through November 20, 2012, you MUST EITHER: (i) WITHIN SEVEN CALENDAR
DAYS of receipt of this Notice, request from the Administrator sufficient copies of the Notice to forward to all such beneficial owners
and WITHIN SEVEN CALENDAR DAYS of receipt of those Notices forward them to all such beneficial owners; or (ii) WITHIN
SEVEN CALENDAR DAYS of receipt of this Notice, provide a list of the names and addresses of all such beneficial owners to the
Administrator at Första AP-Fonden and Danske Invest Management A/S v. St. Jude Medical, Inc., Attn: Fulfillment Department, c/o
A.B. Data, Ltd., 3410 West Hopkins Street, P.O. Box 173010, Milwaukee, WI 53217. If you choose the first option, YOU MUST send
a statement to the Administrator confirming that the mailing was made and YOU MUST retain your mailing records for use in
connection with any further notices that may be provided in the Action. If you choose the second option, the Administrator will send a
copy of the Notice to the beneficial owners. Upon FULL AND TIMELY compliance with these directions, such nominees may seek
reimbursement of their reasonable expenses actually incurred by providing the Administrator with proper documentation supporting the
expenses for which reimbursement is sought.

DATED: MARCH 29, 2016                                  BY ORDER OF THE COURT
                                                       UNITED STATES DISTRICT COURT
                                                       DISTRICT OF MINNESOTA




QUESTIONS? CALL 866- 905-8130 OR VISIT WWW.STJUDESECURITIESLITIGATION.COM                                               PAGE 4 OF 4


ST. JUDE CLASS ACTION
C/O A.B. DATA, LTD.
P.O. BOX 173010
MILWAUKEE, WI 53217

                   COURT-APPROVED NOTICE REGARDING
FÖRSTA AP-FONDEN AND DANSKE INVEST MANAGEMENT A/S V. ST. JUDE MEDICAL, INC.




DATED MATERIAL – OPEN IMMEDIATELY
STJU - ES_54072N4I
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            EXHIBIT B
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A.B. Data, Ltd., as Notice Administrator for this Action, was recently provided with your name and address by your
broker and/or nominee as a potential Class Member. Pursuant to Court Order, on March 29, 2016, A.B. Data mailed
a copy of the enclosed Notice of Pendency of Class Action to brokers and nominees who may have purchased or
otherwise acquired St. Jude Medical, Inc. common stock during the relevant period on behalf of beneficial owners.
The Notice informed those brokers and nominees that (a) within seven (7) calendar days of receipt of the Notice
they were to request from A.B. Data sufficient copies of the Notice to forward to all beneficial owners, and within
seven (7) calendar days of receipt of those Notices, forward them to all such beneficial owners; or (b) within seven
(7) calendar days of receipt of the Notice, provide a list of the names and addresses of all such beneficial owners to
A.B. Data.

As noted above, A.B. Data only recently received your name and address in connection with this matter. Please note
that because of the delay in our receipt of your name and address, you may be receiving this Notice after certain
deadlines have passed.           If you have questions, please contact us at 866-905-8130 or
info@stjudesecuritieslitigation.com.
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            EXHIBIT C
CASE
  A12 0:12-cv-03070-JNE-HB   Doc.PERFORMANCE
                      MUTUAL FUND 285 Filed 05/24/16 Page 14 of 24
                           FRIDAY, APRIL 8, 2016                                                                                                                                                                                                                                                                                                     INVESTORS.COM
                                                                                                                                                                                                                                    2016             4 Wk Net             2016             4 Wk Net            2016             4 Wk Net            2016             4 Wk Net
                                                                                                                                                                                                                                     %                % Asset NAV          %                % Asset NAV         %                % Asset NAV         %                % Asset NAV
                                                                                                                                                                                                                                    Chg Fund         Chg Value Chg        Chg Fund         Chg Value Chg       Chg Fund         Chg Value Chg       Chg Fund         Chg Value Chg
                                                                                                                                                                                                                                      0 StrucUSEq + 4 35.81n +.42         + 2 S&P500 Idx + 4 22.57n +.24       – 1 StrategicR6 + 3 13.20n +.18      – 1 MA Inv Tr      + 3 27.08 +.28
                                                                                                                                                                                                                                    – 4 TechOpps + 6 14.62n +.17              Invesco Instl                    + 3 Useqvalport + 5 14.21n +.20      + 4 MAInvGrSk + 5 23.88 +.24
                                                                                                                                                                                                                                        GoldmnSachs In                        $ 27.1 bil 800–525–8085              Lazard Open                      – 1 Mid Cap Gr + 5 13.92 +.17
                                                                                                                                                                                                                                        $ 42.0 bil 800–762–5035           + 1 BalRskAllcR5 0 10.48n +.04           $ 22.6 bil 800–823–6300          + 3 MidCapVal + 4 19.11 +.15
                                                                                                                                                                                                                                      0 Capital Gr + 6 25.53n +.32        + 1 Intl Growth R5 + 2 31.70n +.34   + 6 EmergMkts + 2 14.66n +.05        + 1 Research       + 4 36.33 +.43
                                                                                                                                                                                                                                    – 1 Mid Cap Val + 4 32.90n +.33           IVA Funds                        + 4 GlbLstInfr + 3 13.90n +.08
                                                                                                                                                                                                                                                                                                                                                    – 6 Resrch Intl      0 14.77 +.15
                                                                                                                                                                                                                                    + 5 RealEstSecs + 6 20.82n +.04           $ 34.6 bil 866–941–4482          – 1 IntlStratEq + 3 13.29n +.19
                                                                                                                                                                                                                                    + 1 StrucLgGr + 5 23.61n +.34           0 WorldwideA + 1 16.35 +.05        + 3 USEqConcen + 5 14.29n +.20         0 Technology + 6 25.82 +.30
                                                                                                                                                                                                                                    – 1 StrucLgVal + 3 16.35n +.17          0 WorldwideC + 1 16.22n +.06           Legg Mason                       + 3 Total Ret      + 2 17.52 +.09
                                                                                                                                                                                                                                      0 StrucUSEq + 4 40.21n +.48           0 WorldwideI + 1 16.36n +.06           $ 31.9 bil 800–822–5544          + 2 Value          + 3 33.44 +.28
                                                                                                                                                                                                                                        GuideStone G2                         Ivy Funds                        – 2 BridgeGr       + 3 201.41n           MFS Funds B
                                                                                                                                                                                                                                        $ 2.4 bil 800–262–0511                $ 319 bil 800–777–6472           +3.98
                                                                                                                                                                                                                                                                                                                                                        $ 167 bil 800–637–2929
                                                                                                                                                                                                                                    – 3 GrEqInst       + 5 9.24n +.16     – 5 AssetStr A – 1 20.83 +.12        + 3 CBApprecIS + 4 20.28n +.19
                                                                                                                                                                                                                                                                                                               – 1 ClrBrdgVal + 4 71.78n ..         – 1 Growth         + 5 58.13n +.77
  Top Industry & Sector Funds                                                                                        Top Industry & Sector Funds                                                                                        GuideStone G4
                                                                                                                                                                                                                                        $ 9.9 bil 800–262–0511
                                                                                                                                                                                                                                                                          – 5 AssetStr B – 1 19.73n +.11
                                                                                                                                                                                                                                                                          – 5 AssetStr C – 1 19.87n +.11           Legg Mason A                     + 1 Intl Val
                                                                                                                                                                                                                                                                                                                                                    – 1 MA Inv Tr
                                                                                                                                                                                                                                                                                                                                                                       + 3 33.04n +.27
                                                                                                                                                                                                                                                                                                                                                                       + 3 26.35n +.27
  Best % chan.ge in last 4, 8 & 12 weeks on a total return basis. : Best % change in last 16 & 39 weeks on a total                                                                                                                  + 2 EqIndxInv + 4 22.94n +.23         – 5 AssetStr E – 1 20.89 +.12            $ 47.2 bil 800–822–5544
  indicates fund is on 3 different weeks’ lists.                                                                                                                                                                                                                                                               – 2 Aggressive + 3 182.69 +3.60      + 4 MA InvGrSk + 5 21.10n +.21
                                                                    return basis. : indicates fund is on 3 different weeks’ lists.                                                                                                  – 3 GrEqInv        + 5 21.31n +.36    – 5 AssetStr I – 1 21.06n +.12
                                                                                                                                                                                                                                                                                                               + 2 BMSP500IdxA + 4 20.72n +.23
                                                                                                                                                                                                                                        Hancock Horizon Funds             – 5 AssetStr R – 1 20.63n +.12                                            – 1 Mid Cap Gr + 5 12.06n +.15
                                                                                                     $ Net                                                                                                            $ Net                                                                                    + 2 CBApprec + 4 20.35 +.20
                                                                                                                                                                                                                                        $ 4.9 bil 800–259–1926            – 5 AssetStr Y – 1 20.88n +.13                                            – 6 Rsrch Intl       0 14.23n +.15
  Mutual Fund                                                                   % Change             Assets          Mutual Fund                                                                   % Change           Assets                                                                                     0 CBLgGrA        + 5 32.39 +.42
                                                                                                                                                                                                                                    – 4 JhnCapValI + 4 41.20n +.52        – 3 LrgCapGr C + 6 15.33n +.20                                            – 1 Technology + 6 22.96n +.27
                                                                                                                                                                                                                                                                                                               – 3 MidCap         + 3 28.70 +.34
  Best % Change Last 4 Weeks:                                                                                        Best % Change Last 16 Weeks:                                                                                       Harbor Funds                      – 3 LrgCapGr E + 6 17.82 +.24                                             + 2 Total Ret B + 2 17.54n +.09
                                                                                                                                                                                                                                                                                                               –11 OpportyA       + 2 16.96 +.43
                                                                                                                                                                                                                                        $ 235 bil 800–422–1050            – 3 LrgCapGr I + 6 18.59n +.24                                            + 2 Value          + 3 33.28n +.28
  Fidelity BioTecPrt                                                               " 13                 10 bil       Frank/Tmp Fr A Gold&Prec                                                  :   "      56        768 mil         – 4 CapApprAdm + 6 57.57n +1.04       – 3 LrgCapGr Y + 6 18.22n +.24
                                                                                                                                                                                                                                                                                                                   Legg Mason B
                                                                                                                                                                                                                                                                                                                   $ 33.4 bil 800–822–5544              MFS Funds C
                                                                                                                     Amer Cent Inv GlbGoldInv                                                  :   "      55        362 mil         – 4 CapApprIns + 6 58.32n +1.06       – 3 LrgCapGrA + 6 17.84 +.24
                                                                                                                                                                                                                                                                                                               – 3 CBAggGr        + 2 145.33n           $ 137 bil 800–637–2929
  ProFunds InvBiotechUl                                                            " 13              414 mil                                                                                                                        – 4 CapApprInv + 6 56.79n +1.02       + 3 Real Est A + 5 28.38 +.05
                                                                                                                     Wells Fargo A PrecMetA                                                    :   "      52        377 mil                                                                                    +2.86                                – 1 Growth         + 5 57.72n +.77
  Frank/Tmp Fr A BiotchDsc                                                         " 13                1.1 bil                                                                                                                      – 1 Intl Admin + 2 58.74n +.66        + 3 RealEstY       + 5 28.40n +.05       Legg Mason C
                                                                                                                     USAA PrcsMet                                                              :   "      50        605 mil         – 1 IntlInstl      + 2 58.96n +.67                                                                              – 1 MA Inv Tr      + 3 25.93n +.27
  Fidelity AdvisorA                                                                " 12                2.6 bil       Invesco Funds GldMetInv                                                   :   "      48        266 mil         – 1 IntlInv        + 2 58.40n +.66
                                                                                                                                                                                                                                                                            —J—K—L—                                $ 43.6 bil 800–822–5544
                                                                                                                                                                                                                                                                                                               – 3 Aggressive + 3 151.12n
                                                                                                                                                                                                                                                                                                                                                    + 4 MA InvGrSk + 5 20.96n +.21
                                                                                                                                                                                                                                    + 1 Lrg Val Ins + 3 11.42n +.14           J Hancock 1                      +2.98                                – 1 Mid Cap Gr + 5 11.76n +.15
  Rydex Dyn Biotech                                                                " 9               394 mil         Oppenheimer A Gold&SpMin                                                  :   "      47        981 mil         + 1 Mid Gr Inst + 2 19.09n +.08           $ 41.7 bil 800–225–5291            0 CBLgCapGr + 5 26.84n +.35        – 6 Rrsch Intl       0 13.89n +.15
                                                                                                                     Van Eck IntlGoldA                                                             "      42        616 mil             Hartford A                          0 LifestylBal + 3 14.22n +.10      –11 OpportyC       + 2 16.23n +.41   – 1 Technology + 6 22.92n +.27
  PIMCO Inst l RealEstRR                                                           " 7                 1.7 bil                                                                                                                                                            – 1 LifestylGr + 3 14.71n +.14           Legg Mason FI
                                                                                                                     Vanguard Metals&Min                                                           "      41       1.491 bil            $ 66.6 bil 888–843–7824
                                                                                                                                                                                                                                                                              J Hancock A
                                                                                                                                                                                                                                                                                                                                                    + 2 Total Ret      + 2 17.62n +.09
                                                                                                                                                                                                                                    – 3 CapApprec + 4 33.40 +.43                                                   $ 2.5 bil 800–822–5544
  Best % Change Last 8 Weeks:                                                                                        Tocqueville Gold                                                              "      40         1.2 bil                                                  $ 32.2 bil 800–225–5291          –11 OpportyF       + 2 17.51n +.44
                                                                                                                                                                                                                                                                                                                                                    + 2 Value          + 3 33.08n +.28
                                                                                                                                                                                                                                      0 COREq          + 3 23.56 +.27
                                                                                                                     First Eagle GoldA                                                             "      39           1 bil                                              – 4 LrgCapEq       + 4 39.66 +.50                                             MFS Funds I
  PriceFds GlobTech                                                             " 24                  2.5 bil                                                                                                                       + 1 Div & Gr       + 3 22.65 +.26                                              Legg Mason I
                                                                                                                                                                                                                                                                                                                                                        $ 115 bil 800–637–2929
                                                                                                                                                                                                                                    – 4 GrwthOpps + 5 35.92 +.53          – 1 MidCapA        + 5 18.38 +.19        $ 45.8 bil 800–822–5544
  Frank/Tmp Fr A Gold&Prec                                                    : " 24                 768 mil         RS GlbNatResA                                                                 "      23         1.8 bil                                              – 7 RegionlBnk + 1 17.67 +.10                                             + 1 BlenReseC + 4 22.47n +.24
                                                                                                                                                                                                                                    – 9 Health         + 5 31.76 +.99                                          – 2 CBAggGr        + 3 199.45n
                                                                                                                     Amer Cent Inv Utilities                                                       "      15        348 mil           0 MidCap         + 4 23.47 +.29         J Hancock B                      +3.94                                – 1 Growth         + 5 73.64n +.98
  Fidelity Const & Hse                                                             " 22              474 mil                                                                                                                                                                  $ 16.0 bil 800–225–5291          + 3 CBApprec + 4 20.23n +.19
                                                                                                                     Best % Change Last 39 Weeks:                                                                                       Hartford B                                                                                                  + 4 MA InvGrSk + 5 24.45n +.25
                                                                                                                                                                                                                                                                          – 7 RegnlBnk + 1 16.82n +.10           0 CBLgCapGr + 5 35.62n +.47
  RS GlbNatResA                                                                    " 22                1.8 bil       PIMCO Inst l CommodRR                                                         "      55       12.67 bil
                                                                                                                                                                                                                                        $ 50.2 bil 888–843–7824
                                                                                                                                                                                                                                                                                                               – 1 Clearbrge + 4 74.12n +1.04
                                                                                                                                                                                                                                                                                                                                                    – 1 Mass Inv Tr + 3 26.43n +.27
                                                                                                                                                                                                                                    – 3 CapApprec + 4 26.54n +.34             J Hancock C
                                                                                                                                                                                                                                                                                                               – 3 MidCap         + 3 31.75n +.37     0 MidCapGr + 5 14.55n +.18
  PIMCO Inst l RealEstRR                                                           " 21                1.7 bil       Amer Cent Inv GlbGoldInv                                                  :   "      24        362 mil           0 CoreEq         + 3 21.80n +.24        $ 13.2 bil 800–225–5291
                                                                                                                                                                                                                                                                          – 7 RegionlBnk + 1 16.85n +.10       –11 OpportyI       + 2 18.31n +.46   + 3 MidCapVal + 4 19.55n +.15
  Van Eck GlbHrdAstA                                                               " 21                2.1 bil       Wells Fargo A PrecMetA                                                    :   "      23        377 mil         + 1 Div&Gr         + 3 22.22n +.24
                                                                                                                                                                                                                                                                              J Hancock Instl                      Litman Gregory                   + 1 Research       + 4 37.15n +.43
                                                                                                                                                                                                                                    – 5 GrowOppor + 4 24.64n +.37
                                                                                                                     Frank/Tmp Fr A Gold&Prec                                                  :   "      22        768 mil         –10 Health         + 5 27.04n +.84        $ 12.4 bil 800–225–5291              $ 1.6 bil 415–461–8999           – 6 Rsrch Intl       0 15.26n +.15
  Best % Change Last 12 Weeks:                                                                                       Oppenheimer A Gold&SpMin                                                  :   "      21        981 mil                                               – 1 DisValMdCap + 5 19.03n +.20        0 MstEqtI        + 3 16.02n +.17   + 3 Total Ret      + 2 17.52n +.09
                                                                                                                                                                                                                                      0 MidCap         + 4 17.31n +.20
                                                                                                                                                                                                                                                                              Janus A Shrs                         Loomis Syls                      + 2 Value          + 3 33.61n +.28
  Amer Cent Inv GlbGoldInv                                                    : " 55                 362 mil         USAA PrcsMet                                                              :   "      17        605 mil             Hartford C
                                                                                                                                                                                                                                                                                                                   $ 78.1 bil 800–633–3330
                                                                                                                                                                                                                                        $ 66.1 bil 888–843–7824               $ 2.2 bil 800–525–3713                                                    MFS Instl Funds
  Frank/Tmp Fr A Gold&Prec                                                    : " 55                 768 mil         Vanguard Index UtilIndxAdm                                                    "      17       2.028 bil                                              – 2 Forty          + 6 28.59 +.38    + 2 Bond Instl + 2 13.14n +.04
                                                                                                                                                                                                                                    – 3 CapApprec + 4 27.02n +.34                                                                                       $ 7.5 bil 800–637–2929
                                                                                                                                                                                                                                                                              Janus Aspn Inst                  + 2 Bond Ret       + 2 13.08n +.04
  USAA PrcsMet                                                                : " 52                 605 mil         First Eagle GoldA                                                             "      15           1 bil          0 CoreEq         + 3 21.75n +.24
                                                                                                                                                                                                                                                                                                                 0 Growth Y       + 4 11.51n +.15   – 4 Intl Eq        + 1 19.76n +.20
                                                                                                                                                                                                                                    + 1 Div&Gr         + 3 22.00n +.24        $ 3.8 bil 800–525–3713
                                                                                                                     Invesco Funds GldMetInv                                                   :   "      15        266 mil                                               + 3 Enterprise + 5 58.84n +.68       + 1 Strat Inc A + 2 13.80 +.04           Morgan Stan
  Wells Fargo A PrecMetA                                                      : " 52                 377 mil                                                                                                                        – 5 GrowOppor + 4 24.93n +.36
                                                                                                                                                                                                                                                                                                               + 1 Strat Inc C + 2 13.91n +.05          $ 598 mil 800–869–6397
                                                                                                                     Amer Cent Inv Utilities                                                       "      15        348 mil         –10 Health         + 5 27.13n +.84    – 2 Forty          + 6 35.70n +.48
  Invesco Funds GldMetInv                                                     : " 51                 266 mil                                                                                                                                                              – 1 Janus          + 5 30.51n +.38       Loomis Syls Inv                  – 5 MltiCpOpps + 7 24.83n +.42
                                                                                                                     Van Eck IntlGoldA                                                             "      14        616 mil           0 MidCap         + 4 17.90n +.22                                             $ 29.2 bil 800–633–3330
                                                                                                                                                                                                                                        Hartford HLS IA                       Janus C Shrs                                                              Morgan Stan A
  Oppenheimer A Gold&SpMin                                                    : " 48                 981 mil         Fidelity RealEstate                                                           "      13       4.388 bil            $ 27.7 bil 888–843–7824               $ 12.6 bil 800–525–3713          + 3 GradeBondA + 2 11.15 +.02            $ 1.5 bil 800–869–6397
                                                                                                                                                                                                                                                                          – 1 Balanced       + 3 28.42n +.20   + 3 GradeBondC + 2 11.05n +.02
                                                                                                                                                                                                                                      0 Discp Eq       + 4 15.61n +.18                                                                              – 5 MltiCpGrt + 7 30.13 +.52
  U.S. Stock Fund Cash Position                                                 2016             4 Wk Net            2016            4 Wk Net             2016             4 Wk Net            2016             4 Wk Net                                                      Janus S Shrs                     + 3 GradeBondY + 2 11.15n +.02
                                                                                 %                % Asset NAV         %               % Asset NAV          %                % Asset NAV         %                % Asset NAV        + 1 Div & Gr       + 3 22.42n +.25                                                                                  Morgan Stan B
  High (11/00) 6.2% Low (6/15) 2.7%                                                                                                                                                                                                                                           $ 50.3 bil 800–525–0020              Lord Abbett A
                                                                                Chg Fund         Chg Value Chg       Chg Fund        Chg Value Chg        Chg Fund         Chg Value Chg       Chg Fund         Chg Value Chg       – 2 GlobalGrow + 5 23.83n +.33                                                                                      $ 1.6 bil 800–869–6397
                                                                                                                                                                                                                                    – 4 GrwthOpps + 5 33.40n +.49         – 1 Balanced       + 3 28.61n +.20       $ 72.8 bil 800–426–1130
  SEP     14      3.1% MAR                15 3.1%      SEP       15      2.9%                                                                                                                                                                                                                                                                       – 5 MltiCpGrt + 7 24.73n +.42
                                                       OCT       15      2.9% + 2 Value            + 3 97.35n +.91   + 2 Income        + 2 2.10 +.01         $ 48.2 bil 800–632–2301               Gateway Funds                    –10 Health         + 5 27.42n +.85    + 3 Enterprise + 5 86.48n +.99       + 1 Bond Deben + 2 7.44 +.03
  OCT     14      3.2% APR                15 2.9%                                                                                                                                                                                                                                                                                                       Morgan Stan I
                                                       NOV       15      2.9% + 2 Value K          + 3 97.45n +.92   + 4 RealEstSecs + 5 23.25 +.05      – 2 GlbDiscovA + 2 28.23 +.25             $ 8.3 bil 800–354–6339             0 MidCap         + 4 33.68n +.41    + 2 Flex Bond + 1 10.47n –.02        + 6 CaptlStruc + 4 13.99 +.11
  NOV     14      3.3% MAY                15 2.8%                                                                                                                                                                                                                                                                                                       $ 1.4 bil 800–869–6397
  DEC     14      3.1% JUN                15 2.7%      DEC       15      2.9%      FidltyAdvFoc A                    + 5 RisingDivs + 4 49.83 +.43         0 SharesA        + 2 25.87 +.28       0 Gateway A + 1 29.44 +.10         + 3 Stock          + 4 66.11n +.58    – 2 Forty          + 6 27.78n +.38   – 1 DivEqStrat + 4 16.87 +.18
                                                       JAN       16      3.0%      $ 8.8 bil 877–208–0098            + 1 Strat Inc     + 1 9.18 +.01         Frank/Tmp Mutual C                    GE Elfun S&S                         Hartford HLS IB                   + 2 Growth&Inc + 4 44.80n +.41                                            – 5 MltiCapGrt + 8 32.09n +.55
  JAN     15      3.3% JUL                15 2.8%                                                                                                                                                                                                                                                              – 3 GrowthLdrs + 5 21.82 +.25
  FEB     15      3.2% AUG                15 2.9%        FEB 16 3.2% – 8 Health Care + 4 35.42 +1.17                 +13 Utilities     + 2 17.26 +.03        $ 51.5 bil 800–632–2301               $ 12.2 bil 800–242–0134              $ 24.7 bil 888–843–7824           – 1 Janus          + 5 34.62n +.44                                            Morgan Stan Ins
                                                                                                                                                                                                                                                                                                                   Lord Abbett B
                                                                                   FidltyAdvFoc B                        Frank/Tmp Fr C                  – 2 GlbDiscov + 2 27.88n +.25         – 1 S&SUSEqt + 4 47.30n +.69           0 DiscpEq        + 4 15.48n +.18        Janus T Shrs                                                              $ 37.6 bil 800–548–7786
  2016            4 Wk Net                  2016            4 Wk Net                                                                                                                                                                                                          $ 80.3 bil 800–525–0020              $ 46.8 bil 800–426–1130
   %                % Asset NAV              %               % Asset NAV           $ 5.1 bil 877–208–0098                $ 255 bil 800–342–5236            0 Shares         + 2 25.58n +.27    – 2 Trusts         + 4 53.73n +.83   + 1 Div&Gr         + 3 22.34n +.25                                                                              – 3 CapGrI         + 7 39.03n +.67
                                                                                                                                                                                                                                                                          – 1 Balanced       + 3 28.64n +.20   + 1 Bond Deben + 2 7.46n +.02
  Chg Fund         Chg Value Chg            Chg Fund        Chg Value Chg – 8 Health Care r + 4 29.26n +.97          + 2 CA Tax Fr     + 1 7.58n +.00        Frank/Tmp Mutual R                    GE Instl Funds                   – 2 GlobalGrow + 5 23.62n +.33                                                                                  – 4 CapGrP         + 7 37.91 +.65
                                                                                   FidltyAdvFoc C                    – 4 Dynatech + 6 40.38n +.77                                                  $ 4.6 bil 800–242–0134           – 4 GrowOppor + 5 32.32n +.47         + 3 Enterprise + 5 87.95n +1.01          Lord Abbett C
                                                                                                                                                             $ 26.8 bil 800–632–2301                                                                                                                                                                + 5 USRealEstI + 5 18.71n +.07
  + 1 EqtyInc         +2   51.11n +.43     + 1 MidCpStkK + 3 33.09n +.32           $ 7.6 bil 877–208–0098            + 2 FedTxFrIn + 1 12.44n +.00                                             – 3 Prem Gr Inv + 5 13.22n +.22      –10 Health                            + 2 Flex Bond + 1 10.47n –.01            $ 69.4 bil 800–426–1130
                                                                                                                                                         – 4 Dynatech + 6 45.86n +.88                                                                  + 5 26.53n +.82                                                                              + 5 USRealEstP + 5 18.24 +.06
  + 1 EqtyIncK        +2   51.10n +.43     + 1 MidStk         + 3 33.08n +.32 – 8 HealthCare r + 4 28.90n +.95       – 5 GrOppoC       + 5 26.96n +.48                                           0 US Equity Inv + 4 12.55n +.19      0 MidCap         + 4 33.11n +.40    – 9 GlbLifeSci + 7 47.16n +1.71      + 1 Bond Deben + 2 7.46n +.03
                                                                                                                                                         – 2 GlbDiscov + 2 27.87n +.25                                                                                                                                                                  Nationwide
  – 1 Fidelity Fund   +4   41.47n +.53     – 1 NasdaqIndex r + 564.62              FidltyAdvFoc T                    + 1 Grwth         + 4 68.56n +.75                                             GMO Trust II                     + 3 Stock          + 4 66.04n +.58    – 1 GlbTech        + 6 20.98n +.20       Lord Abbett F
                                           n +1.01                                                                                                           Frank/Tmp Mutual Z                                                                                                                                                                         $ 1.5 bil 800–848–0920
  + 1 FloatHiInc      +2    9.19n +.01                                             $ 7.8 bil 877–208–0098            + 2 HiYldTxFr     + 1 10.83n +.00                                             $ 16.2 bil 617–330–7500              Hartford I                        + 2 Growth&Inc + 4 44.82n +.41           $ 57.6 bil 800–426–1130
                                           + 3 Nordic r       + 5 48.25n +.48                                                                                $ 51.2 bil 800–632–2301
  + 1 GNMA            +1   11.63n –.01                                         – 8 HealthCare + 4 33.34 +1.10        + 2 Income        + 2 2.13n +.02                                          – 4 IntlIntrnVal 0 18.99n +.23           $ 56.1 bil 888–843–7824           – 1 Janus          + 5 34.70n +.44                                        + 1 NationwideIS + 4 21.16n +.21
                                           – 6 OTCK           + 7 79.48n +1.62                                                                           – 2 GlbDiscov + 2 28.73n +.26                                                                                                                         + 1 Bond Deben + 2 7.43n +.03
    0 GrowStrat r     +4   33.15n +.41                                             First Eagle                       + 5 RisingDivs + 4 49.02n +.43                                                GMO Trust III                    – 3 CapApprecI + 4 33.49n +.43        – 2 Research       + 5 41.00n +.57                                            Nationwide A
                                           – 6 OTCPort        + 7 78.62n +1.60                                                                             0 Shares         + 2 26.11n +.28                                                                               – 1 Twenty         + 4 54.10n +.72       Lord Abbett I
    0 GrowStratK r    +4   33.38n +.41                                             $ 85.9 bil 800–334–2143           + 5 RisingDivsR + 4 49.69n +.44                                               $ 39.7 bil 617–330–7500          + 1 Div&Gr         + 3 22.54n +.25                                                                                  $ 13.4 bil 800–848–0920
                                             0 Puritan        + 3 20.26n +.17 + 2 Global A                                                                   Frank/Tmp Tp A                                                                                               + 2 US Core        + 5 17.85n +.18       $ 50.1 bil 800–426–1130
  – 3 GrwDiscovy      +4   24.46n +.39                                                             + 2 52.59 +.25    + 1 Strategic Inc + 1 9.18n +.01                                          – 4 IntlIntrVal      0 19.21n +.23   – 4 GrowOppor + 5 37.16n +.55                                                                                   – 1 Growth         + 4 10.34 +.14
                                             0 Puritan K      + 3 20.25n +.16 + 1 Overseas A + 1 22.27 +.08                                                  $ 100 bil 800–354–9191                                                                                       – 4 Venture        + 5 59.42n +.78   + 1 Bond Deben + 2 7.40n +.02
  – 3 GrwDiscovyK     +4   24.46n +.39                                                                                   Frank/Tmp Fr R                                                        + 5 Quality        + 4 20.25n +.18   – 9 Health         + 5 32.93n +1.03                                                                             + 1 Nationwide + 4 21.48 +.22
                                           + 5 RealEstate + 5 42.72n +.08 + 1 Overseas I + 1 22.73n +.07                                                 – 2 GlblTtlRtrn      0 11.21 +.00                                                                                    Jensen Inv Management            + 6 CalbDivGr + 4 14.10n +.12
  – 4 GrwthCmpny      +7       131.26n                                                                                   $ 167 bil 800–342–5236                                                    GMO Trust IV                       0 MidCap         + 4 23.97n +.29                                                                              + 2 S&P500 Idx + 4 13.76 +.15
  +2.16                                    + 5 RlEstEqt       + 6 14.02n +.03                                                                            – 2 Glob Bond – 1 11.28 +.00                                                                                         $ 11.1 bil 800–992–4144          – 1 DivEqStrat + 4 17.01n +.19
                                                                                   First Invstrs A                   – 4 GrOppoR       + 5 29.77n +.53                                             $ 44.2 bil 617–330–7500              Hartford R3                                                                                                     Nationwide Funds Instl
  – 4 GrwthCmpnyK             + 7131.1                                                                                                                   – 3 Growth         + 1 21.19 +.27                                                                                + 6 QualtGrowI + 5 38.72n +.26
                                           + 5 RlEstEqtF + 6 14.02n +.03           $ 8.3 bil 800–423–4026            – 3 Growth        + 1 21.00n +.27                                         – 4 IntlIntrVal      0 19.18n +.23       $ 43.8 bil 888–843–7824                                                    Lord Abbett P
  5n +2.17                                                                                                                                                   Frank/Tmp TpAd                                                                                               + 6 QualtGrowJ + 5 38.72n +.27                                                $ 7.4 bil 800–848–0920
                                           + 1 SprTotMkIdI + 4 59.38n +.65 – 2 SelectGrow b + 3 10.83 +.13           + 1 Grwth         + 4 73.61n +.80                                         + 5 Quality        + 4 20.27n +.18   – 3 CapApprec + 4 36.26n +.46                                                  $ 25.8 bil 800–201–6984
  – 5 IndependncK + 6      34.23n +.75                                                                                                                       $ 108 bil 800–632–2301                                                                                           JOHN HAN                                                              – 1 Growth         + 4 10.81n +.14
                                           + 3 SprtUSBdIdF + 1 11.79n –.02         First Invstrs B                   + 2 Income        + 2 2.07n +.02                                          + 5 QualityV       + 4 20.28n +.18   + 1 Div&Gr         + 3 22.90n +.25                                         + 1 Bond Deben + 2 7.60n +.02
  – 5 Intl Discov + 2      37.33n +.35                                                                                                                   – 1 GlblTtlRtrn      0 11.23n +.01                                                                                   $ 12.8 bil 800–338–8080                                               + 2 S&P500 Idx + 4 13.86n +.15
                                           – 1 SptnExtdMktInIns                    $ 6.2 bil 800–423–4026              0 Mutl Shrs + 2 25.73n +.27                                                 GMO Trust VI                     – 5 GroOppty       + 4 36.28n +.53                                             Lord Abbett R3
  – 3 IntlGrow     +3      13.26n +.17     + 4 49.70n               +.61                                                                                 – 2 Glob Bond – 1 11.24n +.00                                              – 9 HealthcarFd + 5 32.75n +1.03      – 4 GLBabs           0 10.00 +.00                                             Nationwide Funds Service
                                                                               – 2 SelectGrow m + 3 9.47n +.11       + 1 StratIncome + 1 9.15n +.01                                                $ 21.7 bil 617–330–7500                                                                                         $ 22.0 bil 800–426–1130
  – 2 IntlGrowF + 3        13.29n +.17     + 3 SptUSBdIdIv + 1 11.79n –.02                                                                               – 3 Growth         + 1 21.22n +.27                                           0 MidCap         + 4 26.06n +.32    – 4 GLBabs           0 10.02n +.00                                            $ 10.9 bil 800–848–0920
                                                                                   FMI Funds                         +13 Utilities     + 2 17.19n +.02                                         + 5 Quality        + 4 20.25n +.18                                                                              + 1 Bond Deben + 2 7.43n +.03
  – 6 IntlValue      0      8.98n +.11     – 4 SrsGroCoRetail + 712.43                                                                                       Frank/Tmp TpB/C                                                            Hartford R4                           JOHN HAN C
                                                                                   $ 9.7 bil 800–811–5311                Frank/Tmp FrAd                                                            GoldmnSachs A                                                                                                                                    + 2 S&P500 Ins + 4 13.83n +.15
  – 6 IntlValue F    0      9.00n +.11     n +.20                                                                                                            $ 99.5 bil 800–632–2301                                                    $ 44.7 bil 888–843–7824               $ 9.0 bil 800–338–8080             0 † LSV Val Eq + 2 22.73n +.17
                                                                               + 3 Large Cap + 4 19.23n +.19             $ 229 bil 800–342–5236                                                    $ 48.1 bil 800–762–5035                                                                                                                          + 2 S&P500 Svc + 4 13.77n +.15
                                                                                                                                                         – 2 GlblTtlRtrn      0 11.20n +.01                                                                               – 4 GLBabs           0 9.99n +.00
  + 3 Inv Grade Bd + 2
  + 3 InvGrdBnd + 2
                            7.77n –.01
                           11.31n –.02
                                             0 StkSlAllCp + 4 33.38n +.43
                                             0 StkSlAllCpK + 4 33.39n +.43
                                                                                   FPA Funds                         + 2 CA Tax Fr     + 1 7.58n +.00
                                                                                                                                                         – 2 Global Bd C – 1 11.31n +.00
                                                                                                                                                                                               – 1 CapitalGr      + 6 23.44 +.30    – 3 CapApprec + 4 37.17n +.47
                                                                                                                                                                                                                                                                              JOHN HAN I
                                                                                                                                                                                                                                                                                                               —M—N—O—                                  Natixis Funds
                                                                                   $ 25.7 bil 800–982–4372           – 4 Dynatech + 7 47.86n +.92                                              – 1 Mid Cap Val + 4 32.58 +.32       + 1 Div&Gr         + 3 23.03n +.26
                                                                                                                                                         – 3 Growth C       + 1 20.66n +.26                                                                                   $ 14.0 bil 800–338–8080              MainStay A Fds                       $ 9.8 bil 800–225–5478
  + 3 InvGrdBndF + 2       11.31n –.02     + 3 Strat Inc      + 2 10.38n +.02 – 1 CrescentI + 2 30.85n +.15          + 2 FedTxFrInc + 1 12.45n +.00                                            + 5 RealEstSecs + 6 20.42 +.05       – 4 GrowOppor + 5 37.68n +.56
                                                                                                                                                             Franklin Temp                                                            0 MidCap         + 4 26.79n +.32    – 4 GLBabs           0 10.02n +.00       $ 42.3 bil 800–624–6782          + 4 LSCorePlBdA + 2 12.57 –.01
    0 ITServices r + 7     40.14n +.45       0 Technology + 6 33.63 +.39           Frank/Tmp Fr A                    – 4 GrOppAdv + 5 32.63n +.58                                                0 Strat Gr       + 5 11.55 +.15
  + 1 LgCorEnhIdx + 4      11.64n +.12       0 Technology r + 6 30.54n +.35                                                                                  $ 136 bil 800–292–9293                                                     Hartford R5                           JP Morgan A                        0 Common Stk + 4 19.68 +.18        – 1 USMltCapEqA + 4 27.40 +.31
                                                                                   $ 250 bil 800–342–5236            + 1 Grwth         + 5 74.05n +.80                                         + 1 StrucLgGr + 5 22.91 +.33                                                   $ 221 bil 800–480–4111
  + 2 LgGrwEnhIdx + 5      14.86n +.17       0 Technology r + 6 35.20 +.41 –17 BiotchDsc +13 135.70 +7.59                                                –17 BiotchDisc +13 138.32n                                                     $ 33.3 bil 888–843–7824                                                + 3 High Yld Cp + 2 5.35 +.01        – 1 USMltCapEqC + 4 19.68n +.22
                                                                                                                     + 2 HiYldTxFr     + 1 10.69n +.00   +7.74                                 – 1 StrucTaxMgd + 4 17.09 +.18                                             + 3 Core Bond + 1 11.83 –.01
    0 Low Pr Stk + 1       47.66n +.24       0 Technology r + 6 30.60n +.36 + 2 CA Tax Fr          + 1 7.60 +.00     + 2 Income        + 1 2.08n +.01                                            0 StrucUSEq + 4 39.18 +.46         – 3 CapApprec + 4 37.84n +.48                                              – 5 LrgCpGrow + 6 8.93 +.13          – 1 USMltCapEqY + 4 31.40n +.35
                                                                                                                                                         – 2 Glob Bond      –1   11.28n +.00                                        + 1 Div&Gr         + 3 23.10n +.26    + 2 Equity Idx + 4 34.84 +.38                                             – 1 VaughSmValA + 3 17.59 +.15
    0 LowPriStkK + 1       47.63n +.25     + 2 ToatalBond + 2 10.50n –.01 – 4 Dynatech + 7 46.84 +.91                + 4 RealEstSec + 5 23.44n +.06                                            – 4 TechTollKp + 6 16.98 +.19                                                                                   + 2 S&P500 Idx + 4 45.87 +.49
                                                                                                                                                         + 1 GrthR6         +5   73.98n +.81                                        – 4 GrowOppFd + 5 38.85n +.58         + 3 Equity Inc + 3 13.68 +.13
  – 1 Magellan     +5      88.29n +1.29    + 3 Total Bnd      + 2 10.51n –.01 + 2 FedTxFrInc + 1 12.44 +.00          + 5 RisingDivs + 4 49.79n +.44                                                GoldmnSachs C                                                                                                   MainStay B Fds                       Neubg Brm Adv
                                                                                                                                                         + 5 RisDivR6       +4   49.78n +.44                                          0 MidCap         + 4 27.27n +.33    – 3 GrAdvantg r + 6 14.60 +.26
  – 1 Magellan K + 5       88.19n +1.29    – 1 Trend          + 5 83.02n +1.32 – 4 GrOppoA         + 5 30.81 +.55    + 1 Strategic Inc + 1 9.19n +.01                                              $ 8.7 bil 800–762–5035                                                   0 Growth & Inc + 3 41.87 +.36          $ 33.8 bil 800–624–6782              $ 12.9 bil 800–877–9700
                                                                                                                                                         – 3 TmpGrthClR6    +1   21.18n +.27                                            Hartford Y
  + 1 MdCpEnhIdx + 3       12.77n +.11       0 Val Disc       + 2 23.16n +.26 + 1 Grwth            + 4 73.90 +.81    +13 Utilities     + 2 17.38n +.03                                         – 1 Capital Gr + 5 18.19n +.23                                             + 3 High Yield + 2 6.88 +.02           0 Common Stk + 4 18.10n +.17       + 1 Genesis        + 3 22.16n +.18
    0 Mid Val r    +3      22.30n +.20       0 Val Disc K + 2 23.15n +.26 + 2 HiYldTxFr            + 1 10.64 +.00        Frank/Tmp Mutual A&B              —G—H—I—                             + 1 StrucLgGr + 5 20.84n +.29            $ 59.7 bil 888–843–7824
                                                                                                                                                                                                                                    – 3 CapApprec + 4 38.02n +.48         + 1 Intrepid Gr + 5 40.96 +.50       + 2 Hi Yld Cp      + 1 5.32n +.01        Neubg Brm Instl
                                                                                                                                                                                                                                      0 CorepEq        + 4 23.84n +.27    + 1 IntrepidMid + 4 19.05 +.17       – 5 LrgCpGrow + 6 7.94n +.12             $ 22.0 bil 800–628–2583
                                                                                                                                                                                                                                    + 1 Div&Gr         + 3 23.11n +.26    + 1 Intrpd Amer + 4 35.30 +.35           MainStay C Fds                     0 SocRespons + 4 32.51n +.29
                                                                              UNITED STATES DISTRICT COURT                                                                                                                          – 4 GrowOppor + 5 39.24n +.57         – 5 LgCapGr        + 6 33.75 +.49        $ 12.4 bil 800–624–6782              Neubg Brm Inv
                                                                                                                                                                                                                                    – 9 Health         + 5 35.34n +1.10   + 2 LgCapVal       + 3 12.86 +.16                                             $ 33.8 bil 800–877–9700
                                                                                 DISTRICT OF MINNESOTA                                                                                                                                0 MidCap         + 4 27.45n +.33    + 3 Mid Cap Val + 4 34.34 +.25
                                                                                                                                                                                                                                                                                                               + 3 Hi Yld CorpBd + 2 5.33n +.02
                                                                                                                                                                                                                                                                                                                   Mainstay I Fds                   + 1 Genesis        + 3 31.07n +.25
      FÖRSTA AP-FONDEN AND DANSKE                                                                                                                                                                                                       Hennessy                          – 3 MidCapGr + 5 23.48 +.38
                                                                                                                                                         Civil No. 12-3070 (JNE/HB)                                                                                                                                $ 20.8 bil 800–624–6782          + 1 GenesisI       + 3 51.54n +.42
                                                                                                                                                                                                                                        $ 2.4 bil 800–966–4354            + 1 Sh Dur Bd + 1 10.87 +.00
      INVEST MANAGEMENT A/S, Individually and on Behalf of All Others                                                                                                                                                                                                       0 USEquity       + 4 13.68 +.19    – 1 EpochUsAll + 4 24.81n +.28           Neubg Brm Tr
                                                                                                                                                                                                                                    + 3 CorMid         + 2 19.41n +.12
      Similarly Situated,                                                                                                                                                                                                                                                                                      + 2 S&P500 Idx + 4 46.33n +.50           $ 18.1 bil 800–877–9700
                                                                                                                                                         CLASS ACTION                                                                   Hennessy Funds                    – 2 USLgCorPls + 5 26.15 +.39
                                                                                                                                                                                                                                                                            0 ValAdvntg + 2 27.87 +.23             Mairs & Power                    + 1 Genesis        + 3 54.21n +.44
                                              Plaintiffs,                                                                                                                                                                               $ 8.0 bil 800–966–4354
                                                                                                                                                                                                                                    – 1 CorGrInst      + 2 19.31n +.10        JP Morgan C                          $ 4.7 bil 800–304–7404               Nicholas Group
                v.                                                                                                                                                                                                                  – 1 CorGrInv       + 2 18.87n +.09        $ 154 bil 800–480–4111           + 7 Growth         + 4 111.57n           $ 5.3 bil 800–227–5987
      ST. JUDE MEDICAL, INC., DANIEL J. STARKS, JOHN C. HEINMILLER,                                                                                                                                                                 + 3 CorMid         + 2 19.01n +.12    + 3 Core Bond r + 1 11.90n –.01      +.77                                 + 1 Nichol II I    + 4 24.69n +.36
                                                                                                                                                                                                                                    + 2 FocusInst + 4 72.07n +.87         + 1 Equity Idx + 4 34.56n +.37
      ERIC S. FAIN, MICHAEL T. ROUSSEAU, and DONALD J. ZURBAY,                                                                                                                                                                                                                                                     Managers Funds                   – 1 Nicholas       + 2 62.29n +.82
                                                                                                                                                                                                                                    + 2 FocusInv       + 4 70.68n +.85    + 2 High Yield r + 2 6.89n +.02          $ 25.0 bil 800–548–4539              NorthCoastAsstMgmt
                                              Defendants.                                                                                                                                                                               Highland Capital                  + 1 Intrepid Gr + 5 40.26n +.50
                                                                                                                                                                                                                                                                                                               + 5 YacktmanFd + 3 21.85n +.19           $ 80 mil 800–274–5448
                                                                                                                                                                                                                                        $ 3.8 bil 877–665–1287            + 1 Intrpd Amer + 4 34.95n +.35
                                                                                                                                                                                                                                                                          – 3 MidCapGr + 5 19.11n +.32             Marshall Funds                   + 1 CAN SLIM Sel + 2 13.45n +.05
                          SUMMARY NOTICE OF PENDENCY OF CLASS ACTION                                                                                                                                                                – 4 PrmGrEqA + 4 31.66 +.46
                                                                                                                                                                                                                                                                                                                   $ 6.8 bil 800–580–3863
                                                                                                                                                                                                                                    – 4 PrmGrEqC + 4 25.69n +.37          + 3 MidCapVal + 4 33.17n +.24                                                 Northern
     TO: ALL PERSONS OR ENTITIES WHO PURCHASED OR OTHERWISE ACQUIRED ST. JUDE MEDICAL, INC.                                                                                                                                         – 6 PrmGrEqR + 1 30.29n +.00          + 1 Sh Dur Bd r      0 10.93n –.01   + 2 BMOLgGrwY + 5 14.77n +.23            $ 42.8 bil 800–595–9111
         COMMON STOCK DURING THE PERIOD FROM FEBRUARY 5, 2010 THROUGH NOVEMBER 20, 2012,                                                                                                                                                Hirtle Callaghan                  – 1 USEquityC + 4 13.33n +.18            Marsico Funds                    + 1 StockIndex + 3 24.77n +.00
         AND WHO WERE DAMAGED THEREBY (THE “CLASS”).1                                                                                                                                                                                   $ 4.0 bil 800–981–8917            – 2 USLgCorPls + 5 25.35n +.39           $ 1.9 bil 888–860–8686               Northern Instl
                                                                                                                                                                                                                                      0 HCGrowEqStr + 4 18.56n +.23         0 ValAdvntg + 2 27.77n +.24        – 4 21stCentury + 6 20.82 +.34           $ 8.5 bil 800–637–1380
     YOU ARE HEREBY NOTIFIED, pursuant to Rule 23 of the Federal Rules of Civil Procedure and an Order of the United States                                                                                                                                                   JP Morgan Fds
                                                                                                                                                                                                                                    + 3 HCValEqtStr + 3 17.26n +.13                                            – 4 Focus          + 5 15.59 +.20    + 1 GlTctAstAlc + 2 11.43n +.00
     District Court for the District of Minnesota, that the above-captioned action (the “Action”) against St. Jude Medical, Inc. (“St. Jude”)                                                                                           Hodges                                $ 12.7 bil 800–521–5411
     and the individual defendants, officers of St. Jude, has been certified as a class action on behalf of the Class, except for certain                                                                                                                                                                          MAS Funds Instl Cl                   Nuveen Cl A
                                                                                                                                                                                                                                        $ 2.1 bil 866–811–0224            + 1 IncBldrA       + 2 9.67 +.04
     persons and entities that are excluded from the Class by definition as set forth in the full printed Notice of Pendency of Class                                                                                                                                                                              $ 213 mil 800–354–8185               $ 22.3 bil 800–257–8787
                                                                                                                                                                                                                                    + 6 HodgesRet + 4 35.42n +.68             JP Morgan Instl
     Action (the “Notice”). Lead Plaintiffs Första AP-fonden and Danske Invest Management A/S have been certified by the Court to                                                                                                                                             $ 93.5 bil 800–480–4111          – 2 Ruselint       + 3 11.01n +.13   + 2 Equity Indx + 4 26.57n +.29
                                                                                                                                                                                                                                        Invesco Funds
     represent the Class.                                                                                                                                                                                                               $ 24.3 bil 800–525–8085             0 Disc Equity + 4 21.77n +.27          Mass Mutl Instl                  – 3 LgCapGrOpp + 5 29.52 +.41
                                                                                                                                                                                                                                    + 5 DiverseDiv b + 3 18.33n +.09      + 3 MidCapVal + 4 35.05n +.25            $ 2.6 bil 800–542–6767           + 4 Real Estate + 5 23.43 +.04
     IF YOU ARE A MEMBER OF THE CLASS, YOUR RIGHTS WILL BE AFFECTED BY THIS LAWSUIT. The full printed                                                                                                                               + 7 DividendIncIvn + 222.27           + 4 RealtyInc + 6 13.87n +.05        + 1 PrmrDiscGroA + 5 11.22 +.13          Nuveen Cl C
     Notice is currently being mailed to known Class Members. If you have not yet received a full printed Notice, you may obtain a                                                                                                  n +.11                                  0 TaxAwrDscEq + 5 27.89n +.38          Mass Mutl Prem                       $ 8.0 bil 800–257–8787
     copy by downloading it from www.stjudesecuritieslitigation.com or by contacting the Administrator:                                                                                                                             – 9 GlbHlthCare + 6 34.81n +1.33        0 USEquityI + 5 13.72n +.19            $ 19.9 bil 800–542–6767          + 1 Equity Idx + 4 26.25n +.28
                                                                                                                                                                                                                                        Invesco Funds A                     0 ValAdvntg + 2 28.03n +.23        + 2 DiscplnGrwL + 5 11.47n +.13
                              Första AP-Fonden and Danske Invest Management A/S v. St. Jude Medical, Inc.                                                                                                                                                                                                                                               Nuveen Cl I
                                                                                                                                                                                                                                        $ 121 bil 800–525–8085                JP Morgan R5
                                                                                                                                                                                                                                                                                                               + 1 DiscplnGrwS + 5 11.34n +.13          $ 29.9 bil 800–257–8787
                                                               c/o A.B. Data, Ltd.                                                                                                                                                  + 1 BalRskAllc       0 10.36 +.03         $ 80.3 bil 800–480–4111
                                                                                                                                                                                                                                                                          + 3 CoreBond + 1 11.80n –.02         + 2 DiscplnGrwY + 5 11.37n +.13      + 2 Equity Idx + 4 26.55n +.28
                                                                P.O. Box 173010                                                                                                                                                     – 2 Comstock + 3 21.11 +.26
                                                                                                                                                                                                                                    + 5 DiverseDiv + 3 18.34 +.08         + 3 High Yield + 2 6.92n +.02            Mass Mutl Select                 – 3 LgCapGrOpp + 5 32.04n +.46
                                                             Milwaukee, WI 53217                                                                                                                                                                                                                                   $ 67.2 bil 800–542–6767
                                                                                                                                                                                                                                    + 7 DividendInc + 2 22.06 +.10        + 1 IntrpdAm + 4 36.04n +.36                                              + 1 NWQSmVal + 4 42.68n +.48
                                                                 (866) 905-8130                                                                                                                                                     – 1 Eqty&Inc       + 2 9.49 +.09      + 1 IntrpdGrth + 5 41.06n +.51       – 3 BlueChipGrA + 5 14.57 +.22       + 4 Real Estate + 5 23.75n +.04
     If you did not receive the full printed Notice by mail, and you are a member of the Class, please send your name and address to the                                                                                            + 3 EqWtS&P500 + 4 47.45 +.48         + 2 LgVal          + 3 12.77n +.15   – 3 BlueChipGrL + 5 15.14n +.22          Nuveen Cl R
     Administrator so that if any future notices are disseminated in connection with the Action, you will receive them.                                                                                                             – 9 GlbHlthCare + 6 34.79 +1.33       + 3 RealtyInc + 6 13.93n +.05        – 3 BlueChipGrS + 5 15.46n +.23          $ 2.7 bil 800–257–8787
                                                                                                                                                                                                                                    – 2 Gr&Inc         + 3 22.93 +.31       0 USEqty         + 4 13.72n +.18
     Inquiries, other than requests for the Notice, may be made to Court-appointed Class Counsel:                                                                                                                                                                                                              – 3 BlueChipGrY + 5 15.33n +.23      + 2 Equity Index + 4 26.58n +.28
                                                                                                                                                                                                                                    + 2 HiYldMuni + 2 10.22 +.00          – 1 USLgCrPls + 5 26.50n +.40
                                                                                                                                                                                                                                                                                                               – 6 GrwOppI        + 4 10.18n +.21       Oakmark I
                                  Gregory M. Castaldo, Esq.                    Gregg S. Levin, Esq.                                                                                                                                 + 1 Intl Growth + 2 31.22 +.34            JP Morgan R6
                                                                                                                                                                                                                                                                                                               – 6 GrwOppR5 + 4 10.11n +.21             $ 71.9 bil 800–625–6275
                                  Joshua E. D’Ancona, Esq.                   Joshua C. Littlejohn, Esq.                                                                                                                             + 2 S&P500 Idx + 4 22.32 +.24             $ 66.9 bil 800–480–4111
                                                                                                                                                                                                                                                                                                               – 6 GrwOppY        + 4 9.89n +.20
                                                                                                                                                                                                                                        Invesco Funds B                   + 3 Core Bond + 1 11.83n –.02                                               0 Equity & Inc + 2 28.49n +.16
                             KESSLER TOPAZ MELTZER &                          MOTLEY RICE LLC                                                                                                                                                                                                                  + 2 Index Eq A + 4 17.99 +.20        – 7 Intl           – 1 19.89n +.09
                                                                                                                                                                                                                                        $ 115 bil 800–525–8085              0 DiscEquity + 4 21.78n +.27
                                         CHECK, LLP                             28 Bridgeside Blvd.                                                                                                                                 + 1 BalRskAllc       0 10.01n +.03    + 3 High Yield + 2 6.91n +.02        + 2 Index Eq I + 4 18.35n +.20       – 1 Oakmark        + 4 62.19n +.57
                                  280 King of Prussia Road                    Mt. Pleasant, SC 29464                                                                                                                                – 2 Comstock + 3 21.11n +.27          + 1 Sh Dur Bd + 1 10.88n +.00        + 2 Index Eq S + 4 18.37n +.20       – 6 Select         + 3 36.69n +.30
                                      Radnor, PA 19087                      Telephone: (843) 216-9000                                                                                                                               + 5 DiverseDiv m + 2 18.14n +.08          JP Morgan Selct                  + 2 Index Eq Y + 4 18.14n +.19           Oberweis Funds
                                 Telephone: (610) 667-7706                  Facsimile: (843) 216-9450                                                                                                                               + 7 DividendInc + 2 22.13n +.10           $ 230 bil 800–480–4111             0 MidCpGrEq Z + 5 18.04n +.24          $ 1.3 bil 800–323–6166
                                  Facsimile: (610) 667-7056                    www.motleyrice.com                                                                                                                                   – 1 Eqty&Inc       + 2 9.28n +.08     + 3 Core Bond + 1 11.82n –.01
                                                                                                                                                                                                                                                                                                               – 1 MidGrEqII A + 5 15.92 +.21       – 2 IntlOpps       + 6 20.81n +.22
                                                                                                                                                                                                                                    + 2 EqWtS&P500 + 4 47.20n +.48          0 DscplndEq + 4 21.80n +.27
                                        www.ktmc.com                                                                                                                                                                                – 2 Gr&Inc         + 3 22.74n +.31    + 2 EquityIndex + 4 34.87n +.37        0 MidGrEqII L + 5 16.94n +.23          Old Westbury
     If you are a Class Member, you have the right to decide whether to remain a member of the Class. If you choose to remain a                                                                                                     + 2 HiYldMuni + 2 10.27n +.00         – 3 GrAdvantg r + 6 14.92n +.26        0 MidGrEqII S + 5 17.92n +.24          $ 22.6 bil 800–607–2200
     member of the Class, you do not need to do anything at this time other than retain your documentation reflecting your                                                                                                          + 1 Intl Growth m + 2 28.69n +.31     + 3 High Yield + 2 6.92n +.03          0 MidGrEqII Y + 5 17.57n +.23        0 LgCapStrat + 3 12.46n +.12
     transactions in St. Jude common stock. You will automatically be included in the Class, and you will be bound by the proceedings                                                                                               + 1 S&P500 Idx + 4 21.86n +.24        + 1 Intrepid Gr + 5 41.57n +.51          MassMRestA                           Oppenheimer A
     in this Action, including all past, present and future orders and judgments of the Court, whether favorable or unfavorable. If you                                                                                                 Invesco Funds C                   + 1 IntrepidMid + 4 19.97n +.18          $ 6.4 bil 888–309–3539               $ 118 bil 800–225–5677
                                                                                                                                                                                                                                        $ 112 bil 800–525–8085            + 1 IntrpdAmer + 4 36.01n +.36       + 1 Index          + 4 17.71n +.19   + 1 DevelopMkt + 3 30.74 +.16
     are a Class Member and do not wish to remain a member of the Class, you must take steps to exclude yourself from the Class.                                                                                                                                          + 2 Lg Cap Val + 3 12.68n +.16
                                                                                                                                                                                                                                    + 1 BalRskAllc       0 10.01n +.03                                             Matthews Asia                    – 2 DisMidGrw + 6 16.53 +.31
     If you timely and validly ask to be excluded from the Class, you will not be bound by any orders or judgments in the Action, and you will                                                                                      – 2 Comstock + 3 21.12n +.27          – 5 LgCapGr        + 6 33.89n +.50       $ 20.2 bil 800–789–2742          – 2 Glob Opport + 9 43.75 +.92
     not be eligible to receive a share of any money which might be recovered in the future for the benefit of the Class. To exclude yourself from                                                                                  + 5 DiverseDiv m + 3 18.12n +.08        0 MidCapEq + 5 42.77n +.52
                                                                                                                                                                                                                                                                                                               – 4 IndiaInv       + 3 25.37n +.13   – 7 Global         + 2 69.80 +1.08
                                                                                                                                                                                                                                    – 1 Eqty&Inc       + 2 9.33n +.08     – 3 MidCapGr + 5 26.56n +.43
     the Class, you must submit a written request for exclusion postmarked no later than May 13, 2016 in accordance with the instructions                                                                                           + 2 EqWtS&P500 + 4 45.63n +.47        + 3 MidCapVal + 4 34.69n +.25        – 3 JapanInv       + 1 18.44n +.27   – 2 IntlSmCo       + 4 36.42 +.48
     set forth in the full printed Notice. Pursuant to Rule 23(e)(4) of the Federal Rules of Civil Procedure, it is within the Court’s discretion as                                                                                – 3 Gr&Inc         + 2 22.69n +.30    + 2 MktExpIdx + 3 10.36n +.09            Metro West                       + 1 Main Street + 3 43.96 +.43
     to whether a second opportunity to request exclusion from the Class will be allowed if there is a settlement or judgment in the Action.                                                                                        + 2 HiYldMuni + 2 10.19n +.00         + 1 Sh Dur Bd + 1 10.88n +.00            $ 244 bil 800–241–4671           + 4 RealEstate + 5 27.64 +.06
     Further information may be obtained by contacting the Administrator or visiting the website www.stjudesecuritieslitigation.com.                                                                                                + 1 Intl Growth m + 2 28.73n +.32     – 1 USDynmcPlus + 4 17.15n +.21      + 3 TotRetBdI + 1 10.84n –.01            Oppenheimer B
                                                                                                                                                                                                                                    + 1 S&P500 Idx + 4 21.60n +.23          0 USEquity       + 5 13.71n +.19   + 3 TotRetBdM + 1 10.85n –.01            $ 80.3 bil 800–225–5677
                                                                    Please Do Not Call or Write the Court with Questions.                                                                                                               Invesco Funds P                   – 2 USLgCorPls + 5 26.40n +.40       + 3 TRBdPlan + 1 10.21n –.01         + 1 DevMkt         + 3 29.69n +.16
                                                                                                                                                                                                                                        $ 1.8 bil 800–525–8085              0 ValAdvntg + 2 28.05n +.24
     DATED: APRIL 8, 2016                                                                                                                                  BY ORDER OF THE COURT                                                    – 4 SumFndP + 5 15.83n +.24               Lazard Instl
                                                                                                                                                                                                                                                                                                                   MFS Funds A                      – 3 Glob Opport + 9 39.50n +.83
                                                                                                                                                           United States District Court                                                 Invesco Funds Y                       $ 38.3 bil 800–823–6300
                                                                                                                                                                                                                                                                                                                   $ 173 bil 800–637–2929           – 7 Global         + 2 63.80n +.99
                                                                                                                                                           District of Minnesota                                                        $ 13.4 bil 800–525–8085           + 6 EmergMakts + 3 14.27n +.05       + 1 BlenReseA + 4 22.20 +.24         – 2 IntlSmCo       + 4 34.25n +.44
                                                                                                                                                                                                                                    + 1 BalRskAllc       0 10.48n +.04    + 6 EmergMkts + 2 14.27n +.05        + 1 Core Equity + 4 24.96 +.30       + 1 Main Street + 3 42.11n +.41
     1
          At all relevant times, St. Jude Medical, Inc. common stock traded on the New York Stock Exchange under the ticker symbol “STJ.”                                                                                                                                                                      – 1 Growth         + 5 69.87 +.93        Oppenheimer I
                                                                                                                                                                                                                                    + 1 DiscplEq       + 3 15.15n +.15    + 4 GlbLstInfr + 3 13.88n +.09
                                                                                                                                                                                                                                    + 3 EqWtS&P500 + 4 47.86n +.49        – 1 IntlStratEq + 3 13.19n +.18      + 1 Intl Val       + 3 34.64 +.29        $ 26.3 bil 800–225–5677
CASE 0:12-cv-03070-JNE-HB Doc. 285 Filed 05/24/16 Page 15 of 24




            EXHIBIT D
Kessler Topaz Meltzer & Check, LLP and Motley Rice LLC Announce Pendency of Clas... Page 1 of 5
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                       (http://www.prnewswire.com/)




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Kessler Topaz Meltzer & Check, LLP and Motley Rice LLC Announce Pendency of Clas... Page 2 of 5
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  Kessler Topaz Meltzer & Check, LLP and
  Motley Rice LLC Announce Pendency of
  Class Action on Behalf of Purchasers of St.
  Jude Medical, Inc. Common Stock
  Apr 08, 2016, 09:00 ET from Kessler Topaz Meltzer & Check, LLP and Motley Rice LLC
  (http://www.prnewswire.com/news/kessler+topaz+meltzer+%27and%27+check%
  2C+llp+and+motley+rice+llc)
<j

  MINNEAPOLIS, April 8, 2016 /PRNewswire/ --


  UNITED STATES DISTRICT COURT
  DISTRICT OF MINNESOTA


  FÖRSTA AP-FONDEN AND DANSKE
  INVEST MANAGEMENT A/S, Individually and
  on Behalf of All Others Similarly Situated,
              Plaintiffs,
                                                Civil No. 12-3070 (JNE/HB)
        v.
  ST. JUDE MEDICAL, INC., DANIEL J.
                                                CLASS ACTION
  STARKS, JOHN C. HEINMILLER, ERIC S.
  FAIN, MICHAEL T. ROUSSEAU, and
  DONALD J. ZURBAY,
              Defendants.




  SUMMARY NOTICE OF PENDENCY OF CLASS ACTION


      ALL PERSONS OR ENTITIES WHO PURCHASED OR OTHERWISE ACQUIRED ST. JUDE
  TO: MEDICAL, INC. COMMON STOCK DURING THE PERIOD FROM FEBRUARY 5, 2010
      THROUGH NOVEMBER 20, 2012, AND WHO WERE DAMAGED THEREBY (THE "CLASS").1




http://www.printthis.clickability.com/pt/cpt?expire=&title=Kessler+Topaz+Meltzer+%26+... 5/24/2016
Kessler Topaz Meltzer & Check, LLP and Motley Rice LLC Announce Pendency of Clas... Page 3 of 5
           CASE 0:12-cv-03070-JNE-HB Doc. 285 Filed 05/24/16 Page 18 of 24


  YOU ARE HEREBY NOTIFIED, pursuant to Rule 23 of the Federal Rules of Civil
  Procedure and an Order of the United States District Court for the District of
  Minnesota, that the above-captioned action (the "Action") against St. Jude Medical,
  Inc. ("St. Jude") and the individual defendants, officers of St. Jude, has been certified
  as a class action on behalf of the Class, except for certain persons and entities that are
  excluded from the Class by definition as set forth in the full printed Notice of Pendency
  of Class Action (the "Notice"). Lead Plaintiffs Första AP-fonden and Danske Invest
  Management A/S have been certified by the Court to represent the Class.


  IF YOU ARE A MEMBER OF THE CLASS, YOUR RIGHTS WILL BE AFFECTED BY THIS
  LAWSUIT. The full printed Notice is currently being mailed to known Class Members.
  If you have not yet received a full printed Notice, you may obtain a copy by
  downloading it from www.stjudesecuritieslitigation.com or by contacting the
  Administrator:



  Första AP-Fonden and Danske Invest Management A/S v. St. Jude Medical, Inc.
  c/o A.B. Data, Ltd.
  P.O. Box 173010
  Milwaukee, WI 53217
  (866) 905-8130


  If you did not receive the full printed Notice by mail, and you are a member of the
  Class, please send your name and address to the Administrator so that if any future
  notices are disseminated in connection with the Action, you will receive them.


  Inquiries, other than requests for the Notice, may be made to Court-appointed Class
  Counsel:




http://www.printthis.clickability.com/pt/cpt?expire=&title=Kessler+Topaz+Meltzer+%26+... 5/24/2016
Kessler Topaz Meltzer & Check, LLP and Motley Rice LLC Announce Pendency of Clas... Page 4 of 5
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  Gregory M. Castaldo, Esq.
                                 Gregg S. Levin, Esq.
  Joshua E. D'Ancona, Esq.
                                 Joshua C. Littlejohn, Esq.
  KESSLER TOPAZ MELTZER &
                                 MOTLEY RICE LLC
  CHECK, LLP
                                 28 Bridgeside Blvd.
  280 King of Prussia Road
                                 Mt. Pleasant, SC 29464
  Radnor, PA 19087
                                 Telephone: (843) 216-9000
  Telephone: (610) 667-7706
                                 Facsimile:   (843) 216-9450
  Facsimile:    (610) 667-7056
                                 www.motleyrice.com
  www.ktmc.com



  If you are a Class Member, you have the right to decide whether to remain a member
  of the Class. If you choose to remain a member of the Class, you do not need to do
  anything at this time other than retain your documentation reflecting your
  transactions in St. Jude common stock. You will automatically be included in the
  Class, and you will be bound by the proceedings in this Action, including all past,
  present and future orders and judgments of the Court, whether favorable or
  unfavorable. If you are a Class Member and do not wish to remain a member of the
  Class, you must take steps to exclude yourself from the Class.


  If you timely and validly ask to be excluded from the Class, you will not be bound by
  any orders or judgments in the Action, and you will not be eligible to receive a share of
  any money which might be recovered in the future for the benefit of the Class. To
  exclude yourself from the Class, you must submit a written request for exclusion
  postmarked no later than May 13, 2016 in accordance with the instructions set forth
  in the full printed Notice. Pursuant to Rule 23(e)(4) of the Federal Rules of Civil
  Procedure, it is within the Court's discretion as to whether a second opportunity to
  request exclusion from the Class will be allowed if there is a settlement or judgment in
  the Action.


  Further information may be obtained by contacting the Administrator or visiting the
  website www.stjudesecuritieslitigation.com.


  Please Do Not Call or Write the Court with Questions.




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Kessler Topaz Meltzer & Check, LLP and Motley Rice LLC Announce Pendency of Clas... Page 5 of 5
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  DATED: APRIL 8, 2016 BY ORDER OF THE COURT
                                    United States District Court
                                    District of Minnesota



  Contact – Gregory M. Castaldo, Esq. or Joshua E. D'Ancona, Esq. (610) 667-7706 and
  Gregg S. Levin, Esq. (843) 216-9000


  1
      At all relevant times, St. Jude Medical, Inc. common stock traded on the New York
  Stock Exchange under the ticker symbol "STJ."




  To view the original version on PR Newswire, visit:http://www.prnewswire.com/news-
  releases/kessler-topaz-meltzer--check-llp-and-motley-rice-llc-announce-pendency-
  of-class-action-on-behalf-of-purchasers-of-st-jude-medical-inc-common-stock-
  300245017.html


  SOURCE Kessler Topaz Meltzer & Check, LLP and Motley Rice LLC


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behalf-of-purchasers-of-st-jude-medical-inc-common-stock-300245017.html?tc=eml_cleartime


   Check the box to include the list of links referenced in the article.




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                      Timely Exclusion Requests

  1. Jerome A. and Marlene M. Anderson
      Woodbury, MN
  2. James Greg Aslakson
      Prescott, WI
  3. Horace R. and Mary L. Baker
      Brentwood, TN
  4. Pamela K. Blossom Revocable Trust
      Pamela K Blossom, TTEE
      Columbia, MO
  5. Charles C. Blossom, Jr. Revocable Trust
      Charles C. Blossom, Jr., TTEE
      Columbia, MO
  6. Janice K. Crowley
      Jersey Village, TX
  7. Doris Doull
      Shrewsbury, MA
  8. Allen Edwin Fleury
      Huber Heights, OH
  9. William Golombisky
      Corunna, MI
  10. Edith L. Grunwald
      St. Louis, MO
  11. James Garth and Mary Anne Hayward
      Medicine Hat, Alberta, Canada
  12. Katherine Hendrick
      Felda, FL
  13. Donald Lee Lueker
      Otterville, IL
  14. Joan McDermaid
      Rockford, IL
  15. Thomas H. McFadden
      York, PA
  16. Joanne C. Noble
      Mount Union, PA
  17. Suzanne H. Pavlus
      Libertyville, IL
  18. Lauren Eilen Russell
      Burke, VA
  19. Virginia B Rutledge
      Westerville, OH
  20. Paul Marius Scopton
      Winchester, MA
  21. Catherine R. Sleavin
      Tacoma, WA
  22. Edward Paul and Antoinette Steinke
      Poland, OH
  23. Roger G. Stoll
      Longboat Key, FL
  24. James H. Wallace Family Trust
      Lucy B. Wallace, TTEE
      Harvard, MA
  25. Mika Tapio Mustonen
      Helsinki, Finland
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              Untimely Exclusion Requests

        1.   Rudy and Mary Lauterbach
             Lake Forest, CA
